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                                            UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                EASTERN DIVISION DIVISION

In re: Robert John Benditzky                                                                                          Case No. 12-29246
       aka Robert Benditzky
       aka Bob Benditzky


                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting
or equity securities of a corporation debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the
debtor. 11 U.S.C. §101.




         1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

2012 year to date: $0
2011 last year:
-$401,698.00
2010 year before:
-$349-556.00


         2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)

AMOUNT                                                    SOURCE


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AMOUNT                                                     SOURCE

year to date: $ 12,500.00                                  Spouse's income
2011 last year: $17327.00
2010 year before: $17,025


        3. Payments to creditors
None    Complete a. or b., as appropriate, and c.

        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
        creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
        affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
        obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
        filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)




None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
        commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $5,850*. If the debtor is
        an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
        repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
        must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)


        * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
        were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and a joint petition is not filed.)




        4. Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
        (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                                            COURT OR AGENCY
AND CASE NUMBER                        NATURE OF PROCEEDING                                  AND LOCATION                                 STATUS OR DISPOSITION

City of CHicago v.                     Water bill collection                               City of Chicago                                Pending
Robert Benditsky,                      suit                                                Department of
Docket No.                                                                                 Administrative
11WD03000A                                                                                 Hearings


First Midwest Bank                     COllection suit                                     Circuit Court of                               Jugment entered
v. Robert                                                                                  Cook County,                                   vs. Debtor
Benditsky, Robert                                                                          Illinois
Baron and Jon
Bowers, Case No. 11
L 051049


FirstMerit Bank                        Mortgage foreclosure                                Circuit Court of                               pending
N.A., v. Robert J.                                                                         Cook County,
Benditzky, et al,                                                                          Illinois


                                                                                                                        Statement of Affairs - Page 2
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CAPTION OF SUIT                                                                          COURT OR AGENCY
AND CASE NUMBER                       NATURE OF PROCEEDING                                 AND LOCATION                                STATUS OR DISPOSITION

Case No. 10 CH
50900


FirstMerit Bank                       Mortgage Foreclosure                               Circuit Court of                              Pending
N.A. v. Robert J.                                                                        Cook County,
Benditzky, et al,                                                                        Illinois
Case No. 10 CH
50891


FirstMerit Bank                       Mortgage Foreclosure.                              Circuit Court of                              Pending
N.A. v. Robert J.                                                                        Cook County,
Benditzky, et al,                                                                        Illinois
Case No. 10 CH
50887


None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




         5. Repossessions, foreclosures and returns
None     List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
         within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
         concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                DATE OF
                                                                REPOSSESSION
NAME AND ADDRESS                                                FORECLOSURE SALE,
OF CREDITOR OR SELLER                                           TRANSFER OR RETURN                   DESCRIPTION AND VALUE OF PROPERTY

Name: CitiMortgage, Inc.                                        7/21/11                              Description: 15652 Ash Ave.,
Address: c/o Trott & Trott,                                                                          Eastpointe, MI 48021-2324
P.C.                                                                                                 Value: est. $87,838.33
31440 Northwestern Highway,
Ste. 200
Farmington Hills, MI
48334-2525


Name: IBM Lender Bus.                                           09/01/11                             Description:18100 Rosetta, MI
Process Services
Address: PO Box 4121
Beaverton, OR 97076


Name: CitiMortgage                                                                                   Description: 47 W. Mapledale
Address: P.O. Box 6243 Sioux
Falls, SD 57117


         6. Assignments and receiverships
None     a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
         debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
         spouses are separated and a joint petition is not filed.)



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None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                     NAME AND LOCATION OF                         DATE                  DESCRIPTION AND
NAME AND ADDRESS OF CUSTODIAN                        COURT, CASE TITLE & NUMBER                   OF ORDER              VALUE OF PROPERTY

Name: Jorie Group LLC                                Court: Circuit Court of                      May 6,                Description: 131 W.
Address: 1000 Jorie Blvd.,                           Cook County                                  2011                  112th Street,
Ste. 36, Oak Brook IL                                Case# :10 CH 50887                                                 Chicago, IL
60523                                                                                                                   Value: $10,000


Name:Jorie Group LLC                                 Court:Circuit Court of                       May 6,                Description:23 W.
Address:1000 Jorie Blvd.,                            Cook County                                  2011                  112th Street,
Ste. 6, Oak Brook IL 60523                           Case#:10 CH 50887                                                  Chicago, IL
                                                                                                                        Value: $15,000


Name:Jorie Group LLC                                 Court:Circuit Court of                       May 10,               Description:11940 S.
Address:1000 Jorie Blvd.,                            Cook County,                                 2011                  Princeton Ave.,
Ste. 36, Oak Brook IL                                Case#:10 CH 50891                                                  Chicago, IL
60523                                                                                                                   Value:$9,000


Name:Jorie Group LLC                                 Court:Circuit Court of                       May 10,               Description:8552 S.
Address:1000 Jorie Blvd.,                            Cook County,                                 2011                  Burnham Ave.,
Ste.36 Oak Brook IL 60523                            Case#:10 CH 50891                                                  Chicago, IL
                                                                                                                        Value:$20,000


Name: Jorie Group LLC                                Court:Circuit Court of                       May 20,               Description:8422 S.
Address: 1000 Jorie Blvd.,                           Cook County,                                 2011                  Muskegon Ave.,
Ste. 36 Oak Brook IL 60523                           Case#:10 CH 50900                                                  Chicago, IL
                                                                                                                        Value: $15,000


Name:Jorie Group LLC                                 Court:Circuit Court of                       May 20,               Description:9416 S.
Address:1000 Jorie Blvd.,                            Cook County,                                 2011                  Lafayette Ave.,
Ste. 36, Oak Brook IL                                Case#:10 CH 50900                                                  Chicago, IL
60523                                                                                                                   Value: $50,000


Name:Jorie Group LLC                                 Court:Circuit Court of                       May 20,               Description:11419 S.
Address:1000 Jorie Blvd.,                            Cook County,                                 2011                  Calumet
Ste. 36 Oak Brook IL 60523                           Case#:10 CH 50900                                                  Value:$15,000


Name:Jorie Group LLC                                 Court:Circuit Court of                       May 20,               Descrption: 8517 S.
Address:1000 Jorie Blvd.,                            Cook County,                                 2011                  Marquette
Ste.36 Oak Brook IL 60523                            Case#:10 CH 50900                                                  Value:$10,000



Name:Jorie Group LLC                                 Court:Circuit Court of                       May 20,               Description: 8215 S.
Address:1000 Jorie Blvd.,                            Cook County,                                 2011                  Coles
Ste.36 Oak Brook IL 60523                            Case#:10 CH 50900                                                  Value: $10,000


                                                                                                             Statement of Affairs - Page 4
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         7. Gifts
None     List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
         family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
         (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
         unless the spouses are separated and a joint petition is not filed.)




         8. Losses
None     List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
         petition is filed, unless the spouses are separated and a joint petition is not filed.)




         9. Payments related to debt counseling or bankruptcy
None     List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
         consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
          this case.

                                                         DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: Richard H. Fimoff                                 Date of Payment: 12/12/11                                    $3,299.00
Address: 25 East Washington                              Payor: Robert John Benditzky
Street
Suite 1000, Chicago, IL
60602


Payee: Advisory Credit                                   Date of Payment: 11/16/2011                                  $35.00
Management, Inc.                                         Payor: Debtors


         10. Other transfers
None     a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
         or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
         transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None     b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
         of which the debtor is a benificiary.

NAME OF TRUST OR OTHER                               DATE(S) OF                          AMOUNT OF MONEY OR DESCRIPTION AND VALUE
DEVICE                                               TRANSFER(S)                         OF PROPERTY OR DEBTOR'S INTEREST IN

Trust: Robert J.                                     Various                             Property:See Exhibit B19 to Statement
Benditzky Trust                                                                          of Financial Affairs
                                                                                         Value:0


         11. Closed financial accounts
None     List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
         within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
         other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
         institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
         spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




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         12. Safe deposit boxes
None     List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
         the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
         or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF BANK OR                              NAMES AND ADDRESSES OF                          DESCRIPTION OF                    DATE OF TRANSFER
OTHER DEPOSITORY                                         THOSE WITH ACCESS TO BOX                        CONTENTS                          OR SURRENDER,
                                                         OR DEPOSITORY                                                                     IF ANY


Institution:PNC Bank                                     Name: Debtor and Spouse                         Personal papers                   Open
Address:                                                 Address:


         13. Setoffs
None     List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
         (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
         the spouses are separated and a joint petition is not filed.)




         14. Property held for another person
None     List all property owned by another person that the debtor holds or controls.




NAME AND ADDRESS OF OWNER                                                DESCRIPTION AND VALUE OF PROPERTY                            LOCATION OF PROPERTY

Owner:Christopher Benditzky                                              Description:529 Bright Star                                  in Debtor's
Address:1520 Virginia Ave.                                               Plans                                                        possession
Libertyville, IL 60048                                                   Value: $147.51


Owner:Alysse R. Benditzky                                                Description:529 Bright Star                                  in Debtor's
Address:1520 Virginia Ave.                                               Account                                                      possession
Libertyville, IL 60048                                                   Value:$0


Owner:Lauren K. Benditzky                                                Description:529 Bright Star                                  in Debtor's
Address:1520 Viriginia Ave.                                              Account                                                      possession
Libertyville, IL 60048                                                   Value:$5800.00


         15. Prior address of debtor
None     If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
         period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




         16. Spouses and Former Spouses
None     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
         New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
         the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




         17. Environmental Information
None     For the purpose of this question, the following definitions apply:

         "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,


                                                                                                                     Statement of Affairs - Page 6
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        wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
        cleanup of these substances, wastes, or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
        debtor,
        including, but not limited to disposal sites.

        "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
        similar termunder an Environmental Law:

        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
        under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




None    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
        governmental unit to which the notice was sent and the date of the notice.




None    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
        party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




        18. Nature, location and name of business
None    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
        businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
        self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
        which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                 If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
        all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
        commencment of this case.

                 If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
        all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
        commencment of this case.


                                      LAST FOUR DIGITS OF                                                                                              BEGINNING AND
NAME                                  SOCIAL-SECURITY OR                      ADDRESS                                 NATURE OF BUSINESS               ENDING DATES
                                      OTHER INDIVIDUAL
                                      TAXPAYER-I.D. NO.
                                      (ITIN)/ COMPLETE EIN


See Exhibit B 13                      ID:                                     c/o Debtor                              Real estate                      various-pre
attached to                                                                                                           investment                       sent
Statement of
Financial Affairs


None    b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




NAME                                                                      ADDRESS

Envision Equity Group, LLC                                                c/o Debtor
R & R Investments, LLC
TRI-11945 S. Eggleston, LLC

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NAME                                                                     ADDRESS

See Exhibit B 13


            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
has been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

             (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




         19. Books, records and financial statements
 None    a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of
         books of account and records of the debtor.

NAME AND ADDRESS                                                                                                                         DATES SERVICES RENDERED

Name: William E. Huml & Co.                                                                                                              Dates: current
Address: 1870 West Winchester Road, #245,
Libertyville IL 60048


 None    b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records,
         or prepared a financial statement of the debtor.




 None    c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If
         any of the books of account and records are not available, explain.




 None    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor
         within two years immediately preceding the commencement of this case.




         20. Inventories
 None    a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar
         amount and basis of each inventory.




 None    b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




                                                                                                                           Statement of Affairs - Page 8
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        21. Current Partners, Officers, Directors and Shareholders
None    a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.




None    b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5
        percent or more of the voting or equity securities of the corporation.




        22. Former partners, officers, directors and shareholders
None    a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.




None    b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
        commencement of this case.




        23. Withdrawals from a partnership or distribution by a corporation
None    If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses,
        loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.




        24. Tax Consolidation Group.
None    If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes
        of which the debtor has been a member at any time within six years immediately preceeding the commencement of the case.




        25. Pension Funds.
None    If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
        responsible for contributing at any time within six years immediately preceding the commencement of the case.




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[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date   08/28/2012                        Signature     /s/ Robert John Benditzky
                                                of Debtor


                                                Signature
       Date
                                                of Joint Debtor
                                                (if any)




                                                                                                                  Statement of Affairs - Page 10
